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                      Exhibit F
Vessels of Opportunity
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     Vessels of Opportunity
     Guardians of the Gulf
     Vessels of Opportunity (VOOs) are the backbone of the nation’s
     ocean-going response to the Deepwater Horizon oil spill. The majority
     of vessels in this fleet of privately owned water craft -- currently
     numbering more than 2,000 -- perform critical functions such as boom
     deployment and tending, skimming oil, gathering tar balls, assisting in
     the capture of oiled wildlife, delivering cargo and providing
     surveillance.

     The VOO program is designed to provide cash flow to local fisherman
     and other boat operators whose earning capacity has been diminished
     or eliminated during the oil spill. Like most people living in the Gulf of
     Mexico region, they also want an opportunity to help protect their
     environment. Mark Howard, a VOO operator in Mississippi, has a 25-
     foot center console, open fisherman boat that he used to fish for Amberjack, Red Snapper and other species before the spill. “I’m a member of a
     conservation organization, and I probably would have done this for nothing, but it’s nice to recover some of my income,” he says.

     Before boat owners are called to duty, they all must take safety training, and advanced spill response training is given to many vessel operators. Since early
     May, the Mobile, Alabama Incident Command Post for the Deepwater Horizon oil spill has expanded its VOO trainers from four to approximately 20, and
     more than 7,700 vessel operators are currently in training to meet the demand.

     Getting the right resources to the right locations quickly is critical for the VOO program to be effective. Some VOOs are equipped with a Global Positioning
     System (GPS), and their locations are tracked in real time. When oil is spotted, the GPS capability assists in dispatching additional vessels if needed to
     help recover the oil.

     While VOOs range from skiffs to commercial fishing boats, the program currently has a need for boats larger than 50 feet in length to tackle the bigger jobs
     off-shore. One VOO recently collected enough oil solids to make a large tar ball weighing more than one ton.

     Mark Howard now runs a team of eight boats that patrol the waters of Mississippi. “We start each day with the 7 a.m. safety meeting and then head out,”
     he says. “Yesterday we ran state line to state line looking for underwater oil.”

     When asked about the future, he says, “There’s no doubt that we’re making a difference. I’m here for the long haul.”

     For more information on the VOO fleet or information on how to volunteer a vessel, please visit: http://www.deepwaterhorizonresponse.com



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